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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       ANDREW G. WATTERS,                                Case No. 21-cv-05601-JSW
                                                         Plaintiff,
                                   8
                                                                                             ORDER DENYING APPLICATION
                                                  v.                                         FOR TEMPORARY RESTRAINING
                                   9
                                                                                             ORDER
                                  10       SUPERIOR COURT OF CALIFORNIA
                                           FOR THE COUNTY OF SAN MATEO,                      Re: Dkt. No. 3
                                  11                     Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          This matter comes before the Court upon consideration of Plaintiff’s application for a

                                  14   temporary restraining order (“TRO”). Having considered Plaintiff’s application, the Court

                                  15   DENIES the motion for the reasons set forth herein.

                                  16          Plaintiff is an attorney who represents a client involved in divorce and domestic violence

                                  17   proceedings (the “state court litigation”). During the course the state court litigation, he deposed

                                  18   his client’s estranged wife and recorded that deposition. Prior to the deposition, the parties agreed

                                  19   that the deponent would file an application for a protective order to prevent dissemination of the

                                  20   video by July 9, 2021. (See Plaintiff’s Declaration (“Plaintiff’s Decl.”) ¶ 9, Ex. A.) Deponent did

                                  21   not file an application until July 21, 2021, and the judge presiding over the matter granted the

                                  22   application on the same day. (Compl. ¶¶ 10-11.)1 Plaintiff planned to post the deposition to his

                                  23   website and “offer commentary and editorial about the deposition and” the state court litigation.

                                  24   (Id. ¶ 10; Plaintiff’s Decl., ¶ 8.) Plaintiff alleges “[t]he order must be declared void and its

                                  25   enforcement must be enjoined.” (Compl. ¶ 12.)

                                  26          On July 21, 2021, Plaintiff filed the complaint and the application for a TRO, alleging the

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                                              The state court’s order is attached to the Complaint.
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                                   1   order blocking him from posting the deposition amounts to a prior restraint and violates his rights

                                   2   to free speech under the Federal and State Constitutions.

                                   3           Preliminary injunctive relief, whether in the form of a temporary restraining order or a

                                   4   preliminary injunction, is an “extraordinary and drastic remedy” that is never awarded as of right.

                                   5   Munaf v. Geren, 553 U.S. 674, 689-690 (2008) (internal citations omitted). In order to obtain such

                                   6   relief, Plaintiff must establish: (1) he is likely to succeed on the merits; (2) he is likely to suffer

                                   7   irreparable harm in the absence of preliminary relief; (3) the balance of equities tips in his favor;

                                   8   and (4) an injunction is in the public interest. Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7,

                                   9   20 (2008). In Alliance for the Wild Rockies v. Cottrell, the Ninth Circuit held that the “serious

                                  10   questions” sliding scale approach survives Winter. 632 F.3d 1127, 1134-35 (9th Cir. 2011). Thus,

                                  11   a court may grant a TRO if a plaintiff demonstrates that there are serious questions going to the

                                  12   merits and a hardship balance that tips sharply in its favor, so long as the plaintiff also shows that
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 United States District Court




                                  13   there is a likelihood of irreparable injury and that the injunction is in the public interest. Id. at

                                  14   1135.

                                  15           Plaintiff has sued the Superior Court of the State of California for the County of San

                                  16   Mateo. However, “a suit against the Superior Court is a suit against the State, barred by the

                                  17   eleventh amendment.” Greater Los Angeles Council on Deafness, Inc. v. Zolin, 812 F.2d 1103,

                                  18   1110 (9th Cir.1987); see also Torres v. Voltz, No. 19-cv-3874-LB, 2019 WL 3345972, at *4 (N.D.

                                  19   Cal. July 25, 2019). For that reason, the Court concludes Plaintiff has neither demonstrated a

                                  20   likelihood of success on the merits nor serious questions going to the merits of his claims, and the

                                  21   Court DENIES the application.

                                  22           If Plaintiff renews his request, he shall be prepared to address why, in light of the fact that

                                  23   he is precluded by the state court order from disseminating the video, his claim would not be

                                  24   subject to dismissal under the Rooker-Feldman doctrine.

                                  25           IT IS SO ORDERED.

                                  26   Dated: July 22, 2021

                                  27                                                      ______________________________________
                                                                                          JEFFREY S. WHITE
                                  28                                                      United States District Judge
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